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                 EXHIBIT A
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Hello your honor, my name is Nicole Messenger. I am a stay at home mom of 2 children
with a bachelors degree in law and justice obtained from Rowan University, daughter of
Estelle Messenger-Krill and step daughter to Peter Krill. I have known Pete for 15 years
and when my mom first introduced him to me as her boyfriend I thought she was insane. A
man who was previously in prison I couldn’t understand what she saw in him, and this was
just based off of looks alone. Until I took a chance to know him. I’ve had more of a
relationship with Pete these past 15 years than I have my own father. Your honor I was
raised by my grandfather even though my father was presently in the household, and Pete
is the only one of my 3 dads that truly took on the fatherly role. He taught me self
discipline, he dedicated his time and effort to help me with homework assignments, he
came to my sporting events and he encouraged me to have drive in this world. He has
witnessed me blossom into a woman and for him I’d like to thank for being a strong one.
He’s taught me so much over these 15 years that he probably doesn’t even realize but
because of him I got to live a life without drug addicted parents fighting every night, I got
the chance to live in a house filled with love, laughter and honesty. He turned my childhood
around for the better, and gave me a chance at a real future. Had I continued to grow up in
my previous household who knows where I’d be today. Pete kept my mom clean for the
first time in my life, he gave her real love and showed me what it was like to truly have a
loving and active father. Fast forward to now I have 2 children, my oldest Mia who is three
years old is incredibly attached to Pete whom she calls paw-paw and she has 4 grandpa's
and her paw-paw will always be the one she runs to first. “Paul Bloom argues that humans
are in fact hardwired with a sense of morality. Drawing on his research at Yale, Bloom
demonstrates that, even before they can speak or walk, babies judge the goodness and
badness of others’ actions; feel empathy and compassion; act to soothe those in distress;
and have a rudimentary sense of justice” (YaleNews). In all, Pete may have this exterior
that singles him out from the rest, but inside he’s a man of many traits, he’s hilarious, kind,
insanely smart and an all around family man. He loves us and I hope this letter helps show
how much I love him too.

Thank you,
Nicole Messenger
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Dear Honorable Chief Judge James E. Boasberg,

I am writing this letter to provide a character reference for Pete Krill, whom I have had the
privilege of knowing for the past 14 years. My name is Chris Messenger, and I am
                                             with nearly 19 years of service.

Pete is not only my stepfather; he is an indispensable part of my life and an incredible husband to
my mother. Our relationship is extremely meaningful to me, well surpassing my initial
expectations. I am compelled to express my unwavering admiration for Pete's character,
integrity, and the positive impact he has had on my life and our family.

From the very beginning, Pete has exemplified honesty to a degree that sets him apart. I can
confidently state that he is the most honest person I have ever encountered. Since my mother
introduced us, Pete has consistently demonstrated loyalty, care, ambition, and, above all,
authenticity—the qualities anyone would seek in a family member.

Throughout the years, Pete has been a law-abiding citizen, adhering to every regulation and law
that I have ever known. His commitment to legality and order has been constant, contributing to
his stellar reputation within my family, extended family and friends.

Pete's generosity has no limits, and I have personally experienced numerous instances where he
selflessly supported me through the most challenging times. Whether providing moral guidance,
assisting with mental health concerns, or undertaking countless home repairs, Pete's generosity
has been a constant pillar of support for me and my family.

There have been occasions when my home faced near-catastrophic issues, and without Pete's
expertise and dedication as an amazing stepfather, my house might have become uninhabitable.
His countless generous acts extend not only to my family but also to my friends, showcasing his
willingness to help whenever needed.

Pete's selflessness is truly commendable. Regardless of the challenges he may face personally, he
consistently puts others before himself. I have witnessed his commitment to being there for me
and my friends, irrespective of the difficulties he may be dealing with on any given day.

Pete's reputation is impeccable, earning the admiration and respect of everyone who crosses his
path. I have received countless compliments about his character from friends who have had the
pleasure of knowing him. It is genuinely rare to find someone who, like Pete, is universally liked
and respected.

A great example of Pete's character occurred a few months ago when my best friend encountered
a home issue shortly after welcoming a newborn to his family. Pete, without hesitation,
intervened and restored running water to their house, demonstrating his generosity with no
expectation of anything in return.
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Pete has been the rock my family didn't realize we needed. His support has been instrumental in
shaping the lives of not only myself but also my family and friends. I can't imagine where my
life would be without him.

I am fully aware of Pete's recent mistakes, and it is a testament to his character that he has taken
full responsibility for them. The idea of Pete serving time is, without a doubt, the most
significant travesty I have personally faced. If any man deserves a chance to continue the life he
has built from scratch and positively impact countless lives, it is Pete.

In the event of any opportunity for leniency, I wholeheartedly express my commitment to
supporting Pete. I am willing to do everything in my power to contribute to a fair and just
outcome. I, along with everyone whose lives Pete has touched, will stand by him through thick
and thin.

Thank you for your thoughtful consideration of this character reference.

Very respectfully,
Chris Messenger
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David J. Krill




C/O Maggie Moy, AFPD
Honorable Chief Judge James E. Boasberg
United States District Court for the District of Columbia
333 Constitution Avenue NW
Washington, DC 20001

Subject: Character Reference for Peter M. Krill

Your Honor,

I am writing this letter in support of my brother, Peter M. Krill, who has shown remarkable dedication
and resilience in overcoming addiction and transforming his life.

I have witnessed firsthand Pete’s journey towards recovery, and I am genuinely impressed by the
positive changes he has made. He has demonstrated unwavering commitment to rehabilitation, seeking
professional help, and actively participating in support programs. Through his determination and hard
work, he has successfully overcome the challenges associated with addiction.

During his recovery, Pete has shown immense personal growth. He has re-established trust within our
family and the community, mending relationships and rebuilding his life. His commitment to maintaining
sobriety is evident in his daily actions, and he has become a source of inspiration for others facing
similar struggles. He has an incredible support system in his extended family and friends who are ever
present in his daily life.

In the past, there were times our relationship was strained due to Pete’s addiction, and my extreme
intolerance of that lifestyle. For nearly a decade, we didn’t speak or associate due to these issues. Now,
fifteen years plus removed from that troubled time, I’m proud to say we are closer than ever before. He
has become the brother, uncle, father, grandfather that we all hoped for. To demonstrate the level of
respect and appreciation I have for Pete’s transformation, my wife Shoshannah and I chose Pete and his
wife Estelle to be Godparents for daughter Adeline three years ago. All of my children love their Uncle
Pete dearly, and if you watch him interact with my kids, his grandkids, and nieces and nephews, you
would see how genuine their love for each other is.

My wife and I are both in law enforcement, Pete has been one of my biggest supporters. He’s been
there for every promotion, and every meaningful event in my life since we reconciled. Pete is passionate
and patriotic, I believe his intent was to protest in a lawful manner. I do not believe my brother would
act to intentionally harm anyone, especially law enforcement personnel. He has taken accountability for
his actions and has continued to display a positive attitude day in and day out.

I firmly believe that Pete has learned valuable lessons from his past and has emerged as a responsible,
accountable, and compassionate individual. He has taken meaningful steps to contribute positively to
society and has become a role model for those seeking redemption and a second chance.
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I am confident that Pete will continue on this path of recovery and contribute positively to society. He
has proven capable of complying with the restrictions of probation and parole. I believe jail time could
be detrimental to his long-term recovery and would be devastating to our family. I kindly request the
court to consider Pete’s transformation and acknowledge the efforts he has made to rebuild his life.

Thank you for your time and consideration.

Sincerely,


David J. Krill
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Shoshannah Heskeyahu




C/O Maggie Moy, AFPD

Honorable Chief Judge James E. Boasberg

United States District Court for the District of Columbia

333 Cons�tu�on Avenue NW

Washington, DC 20001



Subject: Character Reference for Peter Michael Krill



Your Honor,



I am wri�ng this leter in support of my brother-in-law, Peter Michael Krill, who has been an advocate for
helping himself with overcoming addic�on and helping others like my brother with addi�on and
transformed himself into such a genuine and good-hearted person who wants to be able to help others.

The ﬁrst �me I met Peter, I was at a wedding for his aunt with my now husband David (Pete’s Brother). I
knew from speaking with my husband, that Pete had suﬀered in the past from drug addic�on and was
clean for approximately 8 years at that �me. I was amazed by his strength, being in law enforcement I’ve
seen people never get to that point and I was able to see that Pete had an immense passion for helping
others.

Over the years, we became family, he knew from our discussions that my brother struggled with
addi�on, he didn’t even hesitate and asked if he could reach out to him to see if he could help. He’s
been such a posi�ve impact on my brother who has now been clean for over 3 years. We need more
good people like Peter in this world.

Over 3 years ago we asked Peter and my sister-in-law Estelle to be the godparents to our daughter
Adeline. We believe in Peter and love him. He is such an amazing uncle to our children and not only
being our children’s uncle, but he is also a grandfather, and we love seeing him play with all the kids.

Both my husband and I are in law enforcement, Pete has the upmost respect for law enforcement, Pete
is a also very passionate person. I do believe that his intent was to peacefully protest, I know Pete would
never harm anyone especially in law enforcement inten�onally. I believe he has taken accountability for
his ac�ons.
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I believe in Pete; I believe he is a very posi�ve and honest person and has learned from his past. He is a
very responsible person and has become a role model for not only my brother, my children, but also
myself for being the very best person I can be. We all are learning every day and I feel like we all make
mistakes but it’s how we redeem ourselves and who we help that makes us the person we are today.

I kindly request the court to consider how Pete has transformed his life and all the eﬀorts he has made to
rebuild himself and help other in his life.



Thank you so much for your �me and considera�on.



Sincerely,



Shoshannah Heskeyahu
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       My name is Jacob Wilson, I am an employee of the
government in           MD, and I am writing to you on behalf of Peter Krill. I
met Pete back in August of 2019 at a Whiskey Meyers concert. We went to
many other concerts together throughout the years as well as having lunch
together in my hometown.

        I consider Pete to be a very loyal friend. Back in March of 2021, I
started my sobriety. There's not many of my friends that I had at the time that
were sober. I didn’t have many people to relate to or talk to about it. Even
though Pete was hours away from me his phone was always on. If I needed
someone to talk to or help me through navigating my new journey he was
always there. From the day I started my sobriety to this very day, Pete sends
me inspirational quotes to help me stay on track with my sobriety and still
checks on me day after day.

        Pete is a hardworking man that loves his job and he is great at what he
does. I have seen many of the jobs he’s done throughout the last couple of
years. You could ask any of his clients about the jobs that he has done and
that he is an outstanding carpenter.

        Pete is a family man, through the pictures he sends of Estelle and his
grandbabies it is evident that Peter's family holds a special place in his heart.
His commitment to being present for his loved ones, despite the demands of
his profession, showcases how much he loves and cherishes his family.

          He is HONEST and reliable. He will do what he says he’s going to do. I
hope that you will take some of these words into consideration because Peter
Krill is an exceptional man and I believe and know that he deserves a second
chance.



Sincerely,

Jacob Wilson
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December 15th, 2023



Dear Honorable Chief Judge James E. Boasberg:

  My name is Sam Klein, I am the Chief Information Officer at Campbell’s Express, and have known Peter Krill, Jr. for
over ten years. I met him through one of the owners at the company for which I work. At that time, he was helping to
fix up the owner’s house, and I found myself impressed with his hardworking nature and attention to detail. Over the
years, I have gotten to know Pete through mutual friends and labor exchanges. I have helped him out with computer-
related issues, and he has helped me with house-related issues. I value Pete’s extensive knowledge, upstanding
character, and genuine friendship.

  Since I have known Pete, I have found him to be generous with his time, patience, and humor. I have seen him go out
of his way to help friends, family, and strangers in need. One time, he encountered another individual who had served
time and was down on his luck; Pete took it upon himself to try to assist in finding work for this individual and to help
him get back on his feet. Another time, I found him mentoring his daughter’s boyfriend to instill knowledge in him and
prepare him for a successful career as an electrician.

 I have certainly been fortunate enough to experience Pete’s passion for helping others firsthand, as well. There was
an occasion when I had a water pipe burst in one of my walls. I was at work, when I found out the news. On that
occasion, I wasn’t just flooded with water, but, also, emotion and uncertainty. Panic-stricken, I reached out to Pete
who willingly dropped whatever he was doing to assist with the disaster. Thanks to his efforts, we were able to stop
the leak, mitigate the damage, and calmly assess the situation.

 What I find so unbelievable and inspiring about Pete is his resiliency and his unwavering will to learn and grow. It is
even more remarkable, when I reflect on Pete’s struggles and the losses he has had to endure. Some years back, Pete
lost his mother to cancer. Understandably, it was a painful and challenging time. A few years later, he lost his father
to the same illness. I would not wish such sorrow on anyone, but, to Pete’s credit, he endured. A short while later, his
beloved German Shepherd, Ava, passed. Not that long ago, his wife, Estelle, lost her balance outside and broke both of
her legs, which required her to be in a nursing home for two months. Earlier this year, she had to have both of her
knees replaced. This was a procedure Pete encouraged because he wanted to be around to take care of her during her
recovery.

 All of this is a testament to who Pete is as a person. He consistently puts others before himself. He gives back to his
community, family, and friends. Perhaps, most importantly, he tries to learn from his past mistakes, to grow as an
individual, and to be a better man. Honestly, I think that is something for which more people should strive.

 My hope is that Pete’s sentencing will be reflective of who he is as much as what he has done. He is an imperfect
man living in an imperfect world trying to find his way and to be a light for others to follow. If a man’s actions are
indicative of his nature, the voluminous tomes of honorable deeds performed by Pete represent someone of integrity,
compassion, and humility. Thank you kindly for your time and consideration.

Sincerely,



Samuel D. Klein
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December 14, 2023

Re: Pete Krill character letter

To: Honorable Chief Judge James E. Boasberg,



Dear Your Honor,



My name is Timothy Conklin, I am writing to you on behalf of my family and our friendship, to Pete Krill
and how we came to know Pete…through an old high school friend, that he married. My family and I
met Pete in 2019, and instantly connected with him, in regards to his love for music and German
Shepherds, as had 2 and I had 1…not to mention his wife and I were friends, since we were 13 years old.

In honesty, when we initially met, I never thought we would be friendly…maybe socially accepting, but
not to the extent our friendship is today. I used the theory from my grandfather, “to never judge a book
by it’s cover” and this could not be truer, as Pete is probably the most genuine, honest and trust-worthy
man, I have ever met…a true friend, to me and my family.

Pete is a passionate man, about the way our world is crumbling and the social issues that surround us,
daily…we discuss many of these issues, weekly, over a coffee stop or when we get our dogs together to
play, but we do refrain from these talks over dinner, as our wives would rather enjoy the catching up
and talking about the kids, grandkids etc…which is probably best.

Pete is a man, that is willing to help, whenever called…he has helped me fix some things at my home,
within an hour’s notice, babysit my dog, use a tool or just advice, on what I should do to remedy a
situation, at hand. Not only is Pete, a smart craftsman…his Christianity has come to the forefront in our
friendship and he shares many daily prayers with me, that are unsolicited…but he listens to me and
maybe picks up an issue that I am experiencing and a nice message from Pete, arrives on my
phone…friends do this kind of stuff, not acquaintances.

I am a very busy salesman, and travel frequently for work and my children’s schedules…he checks on my
family and asks if anyone needs anything while I am away…My wife and children, often refer to Pete, as
“Uncle Pete” is here, to check on us. This is a trait that not too many men, have these days, especially
with Pete’s current family demands and responsibilities…He is a great husband, good father and the best
grand-father (next to mine) I have ever witnessed. His love for family, friends, animals and this country is
what makes him so special to everyone he meets.

Pete’s past in no mystery and he talks about it frequently, owns it and works on being better every day,
this is another great trait in a real man…In my opinion, this is why he has become such a great person in
our community and within our family dealings…not to mention other families that come into contact
with Pete, as the world is a small place and everyone seems to know everyone, or a connection of
commonality is present…the same statement seems to be consistent, “do you know Pete? How did you
meet him?” “He is an awesome guy…always willing to help you, when needed” and I laugh and say “yep
he is…I knew his wife when we were 13yrs old and…we have been friends ever since we met”
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These past few months have been quite stressful for all of us, that truly love Pete and his family…we talk
about the incident and Pete, seems to have come to understand, that his emotions overcame him that
day and looking at what Pete is responsible for, daily…a lot of remorse has set in…Good people show
this characteristic, and good people love their country, family, friends and the air they breathe…they are
many bad people out there, that deserve punishments that take away many freedoms, that we are so
lucky to have…including the family and friends connection…Pete is not one of those people! We are all
passionate about certain things in our lives, some emotions we can control and some we just cannot,
not one American is perfect, we are all imperfect…I go to church every Sunday, and my mass is filled
with hypocrites and imperfect people, but we all have the passion to be better, hence why we are all
there, Sunday AM…Pete is one of the good ones, that has repaired his wrong-doings and continues to
work at self-reflection and repair, daily.

Our community and society is a better place, with Pete in it…not away from it…his reputation says so,
good people make mistakes, and have remorse, bad people make mistakes and thumb their noses to
authority and keep making those bad mistakes, until someone is either hurt or dies. This is not what
Pete is…Pete needs to stay on his repair journey, as he is not only helping himself, he is helping and
needed, by others…and he is loved by the same.



Thank you for your time and my apologies for the long read…but we are passionate, for Pete and his
entire family.

Happy Holidays



Timothy Conklin
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My name is Joseph V.Guglietti Sr. I am a
                                . I have known Pete
Krill since approximtly 2009.He married my best
friend Chris Messenger mom over 10 years ago. I feel i
know Pete pretty well to the point he would drop
anything he doing to help someone in need.
I have learned in my life experience that you
can really see how a person is based on how
they treat animals and those they love. Just
from watching Pete interact with his dogs and
the genuine love that is there {both ways } he is
truly a great guy. The way he has trained them
and taught them to be around children
,animals, and adults they are nothing short of
a pleasure. To the point that watching him
made me adopt 2 dogs from shelters over the
last 14 years. I've never had any pets prior and
he went above and beyond to show me to train
and teach them to be around people. I can
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honestly state it has been one of the most
rewarding things anyone has ever showed me.
I was recently married {8/21/22}and had my
first child born 6/30/23, all along the
enaggament process he would text me and give
me words of wisdom. During the pregnancy he
would send a text and assure me everything
would be fine and really helped me prepare to
menatally be a father and a husband. Would
always say be prepared to never sleep ... boy
was he right.
Pete and his wife Stelle were among the first
wave of people to see us and our baby in the
hospital, before a huge chunk of our family and
friends . You can see his face light up with joy
when he is holding the baby .Truly one of the
most touching things you could witness.
As my family has grown and we moved into a
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new residence, Pete would drop what he was
doing to help us in any way possible with any
issues we would run into. Let's be frank there
are always issues when moving. I can think of a
time were my wife was between 7-8 months
pregnant and one of my friends was "helping"
us and he told us that we would need to shut
the water off until morning. Shortly after this
we called Pete at around 9 -10 PM he
immediatly came over our house and in what
felt like minutes had the whole issue resolved
and back working. I have also witnessed a time
when my friend {Pete's stepson} had people
over and there was some type of plumbing
issue in his house, and very similar to my story
in what felt like minutes the issue was resolved.
 To see the way he interacts with his
grandchildren is pure joy. Ive watched little Mia
{his grandaughter} go nuts just to play and have
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fun with him. He would clear his schedule and
go to home depot and do projects with her and
the look of happiness on a childs face is
irreplacable. truly touching to watch and she is
smiling and loving the time spent together .
 I hope that writing this letter gives you and idea
of how Pete is and how much i truley respect
and love him
Thank you
Joseph V.Guglietti Sr.
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Your Honor,

  I am writing this letter to provide a character reference for Pete Krill, who is facing legal
proceedings. I am not the best writer, but I hope my words can shed light on Pete’s
character. My daughter and I have lived in a duplex above Pete and his wife Estell for
over a decade. We have become very close like family. I know Pete had struggles
earlier in life, but we only know the Pete that has become a brother to me and uncle to
my daughter. Pete is a loving, caring, honest, selfless, devoted, hard-working, loyal,
husband, father, grandfather, uncle, and friend. he has helped me and my family
countless times. He takes his granddaughter to Home Depot on Saturdays to do “build it
projects. he dresses up as Santa putting presents under the tree in the middle of the
night so his granddaughter can see Santa. I have even seen him in bunny ears. There
is literally nothing he won’t do to make other people happy. He mentors my son-in-law,
on a daily basis. These are just a few examples of what a great person Pete is.

For the court to consider Pete character and importance to his family and friends when
making your decision.

         Thank you
         Dave Sullivan
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Dear Judge Boasberg,

My name is Tara Feeley and I have been an active EMT for over 10 years. I have been a
community servant for over 20 years and feel my years serving my community have made me an
excellent judge of character. I have known Pete Krill for 5 years and his wife Estelle my entire
49 years of life. I have seen Pete's handy work in person and when we decided to take on a
kitchen remodel there was no hesitation that I was calling Pete for the job. While Pete was
working on my house we truly bonded, I shared stories with him about how I was worried about
my oldest son. My son was struggling with confidence issues after some poor life choices he
made as a juvenile that landed him in some trouble. Pete did not hesitate to share his past with
my son and show him what he has built not just professionally but personally. From the love of
his family and friends to his beloved dogs, Pete is one of the most caring and considerate human
beings I have ever encountered. The love Pete has for his wife is truly envious especially during
her many health concerns over the last few years. I worry about my friend everyday with the
thought of Pete not being around even temporarily. Their love is obvious, he does not hide it nor
is he ashamed. He is proud, proud of the life he has built when the odds were stacked against
him, proud of the love he has for Estelle and her children and grandchildren, proud of the love
that is completely reciprocated from everyone in his life, proud that he has a way with animals
that will immediately soften him. Pete loves to travel with his wife and dogs and makes friends
(humans and animals) in every state he goes to. I am certainly proud to call this man my friend. I
hope you find leniency in his sentence and allow him to continue to be part of his friends and
families lives, I know he deeply regrets the decision he made that dreadful day and has suffered
tremendously feeling as though he has let so many of us down. He needs to continue being a
present Papaw for all these new babies that are being born into the family! I beg for leniency
Your Honor, please allow this man to continue to spread his love and be the amazing man,
friend, father and Papaw he has been for so long.

Yours Truly,

Tara and Rick Feeley
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Louis Panarese
Chief of Police, Ret.

Honorable Chief Judge James E. Boasberg
United States District Court for the District of Columbia

November 27, 2023

Your Honor,

I am wri�ng on behalf of Peter Krill. I’m a re�red chief of police from the         Police Department in
        , NJ. I re�red in 2017 a�er 34 years of service; it was during this �me that I met Peter. In the late
1980's I was a detec�ve assigned to the narco�cs unit. Peter and his peer group were o�en the targets
for arrests for drug charges as well as minor viola�ons. A�er one incarcera�on I provided Peter with
some daily work in my own home as he is a skilled cra�sman. We developed a mutual respect a�er this
but lost contact.




Peter has ﬁnally cured his demons and has carved out a good, produc�ve life. He has married, he’s a
father, has become a grandfather and as an excep�onal cra�sman is running a successful contrac�ng
business. As far as I know he hasn't had any legal issues since the 90's un�l this incident.

I would respec�ully ask when sentencing Peter that the minimum sentence be imposed.



Respec�ully submited,

Louis Panarese
Chief of Police, Ret
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To the Honorable Chief Judge James E. Boasberg,
      My name is Jamie Maldonado. I am a construction worker married with four
children. I am writing this letter on behalf of Peter Krill Jr. and who he is to me and my
family. He is a friend, a family member, a brother to me and Uncle to my children, and a
brother-in-law to my wife, Jill Maldonado. What I can say about Pete is he is a loving
husband to Estelle Krill, a father and a grandfather. He is very family oriented. Pete is
always doing family things, like taking his grandkids to educational classes at Home
Depot or having get togethers with his family. He is always entertaining the kids and
making sure they have memorable experiences, like the time he had the Grinch come on
Christmas or the family get togethers before Christmas when they make gingerbread
houses with all the children.
      As for me and my family, we get together with Pete and his family about once a
month. I personally speak to Pete every day. About seven years ago, I personally asked
Pete to be my sponsor. I already had about three years of sobriety, but knew nothing
about the AA program. Over the last seven years, Pete has sent me the AA daily reading
via text message every day. No matter what Pete has going on in his life he always finds
time to think of others and their well-being. I hope this letter gives you an idea of the
unselfish, caring man standing before you.
Sincerely,
Jamie A. Maldonado
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                                                                December15, 2023


Chief Judge James E. Boasberg
United States District Court for the District of Columbia
333 Constitution Avenue
NW, Washington, DC 20001

Dear Honorable Boasberg,

I am writing this letter on behalf of my brother in law Peter (Pete) Krill Jr. whom I have
known for fourteen years.
My name is Dawn Messenger , I am a married mother of three children, and a retired
United Airlines flight attendant.
Pete is happily married to my sister-in-law Estelle Messenger Krill and they live close by
to my family in Sewell NJ. Both are a loving Uncle and Aunt to my children. They enjoy
spending quality time with us and we are blessed to have them as part of our family.
It was 2009 when I first meet Pete and since that time had the pleasure of meeting his
wonderful family, spending quality time with his parents, two brothers, and their families.
It is clear to see that his true meaning in life today revolves around his wife and
grandchildren, spending time with family every moment he can.
Pete has been an inspiration to my children through example of his hard work ethics
and loving nature. He has mentored so many lives in the last fourteen years and I am
proud to have him as part of my family. I have personally seen serval individuals lives
turn around due to Peter’s guidance, support and knowledge from his pass experiences.
Thank you for taking the time to read this letter. I hope this letter sheds some positive
insight on Peter Krill Jr.


Respectfully yours,
Dawn Messenger
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Honorable Chief Judge James E. Boasberg



                           Character Letter for Peter Krill Jr.


       My name is William Messenger, and I am Peter Krill’s nephew. I am in sales
at MSC Industrial supply, specializing in public sector accounts. I also am a partner
in a security company that specializes in active shooter preparedness. I am a
father of, soon to be two boys, with a 14-month-old and another due in 2 months.
I also have a nine-year-old stepson. I am very active in his life and have coached
his local soccer team for the past two years. My wife and I are happily married
and almost finished with building our dream house. I am so grateful for this life
that I have built, and I owe a lot of that credit to my uncle Pete!

        Pete came into our family’s life in 2009 and then married my Aunt Stel in
2013. When he first came into our lives, I was in a dark place. Suffering from a
serious opiate addiction, I had little hope. Pete immediately became a role model
for me. Him and my aunt took me in at one point because I have been kicked out
of both of my parent’s houses. He helped me get in a good routine and taught me
even more of a work ethic then I already had. Growing up in a family business, I
had a great work ethic already, but he inspired to work on my crafts and that I
could become anything I set my mind to. He took me to meetings, taught me to
have a positive mindset, and to never give up. I would end getting kicked out of
their house as well because I was not ready. I spent the next few years in and out
of treatment. Even through all those tough years, I would remember everything
Pete taught me. Fast-forward to June of 2018 when I finally got sober. I moved
home from Florida and had amazing support. Pete would attend meetings with
me and help me with my recovery. In the past 5 years I have built an amazing life
that I love and thank God for everyday!

       Now I know this is not about me but Pete. I had to give some backstory to
properly depict the importance of my relationship with my uncle Pete. I have not
only lived a miracle with his help but have witnessed his growth over the past 14
years. Since Pete has come into my life, he has become such an important part of
our entire family. He has built such an amazing life and family for himself. He is a
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success story! With his background, the statistics were stacked against him. I have
watched him grow as a man, as a father, as a husband, as a grandfather, and even
spiritually. Pete has a heart of Gold and anyone that really knows him would
agree. He is very thoughtful and always there if needed. He has a good reputation
and is very well trusted by many.

       I know the entire family is heartbroken and devastated over this situation.
For someone to have come so far in life to end up being at the wrong place at the
wrong time. I don’t know the details of his case but know that, if anything, he has
shown remorse for putting his family in this situation. He is the rock in his
household and is the world to his grandkids. We are all praying for mercy and for
a positive outcome. Pete being home would truly benefit a lot of people and the
children in the family.

       I truly hope this letter gives a clear understanding of Pete’s character. I can
only give true testimony to what I have witnessed and what he has meant to me. I
know this letter may sound bias but its honestly just the truth. Thank you for your
time and consideration!


Sincerely,

William Messenger
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Jordan Messenger
Character witness
United States District Court
12/16/2023


Dear Chief Judge Boasberg

         My name is Jordan Messenger. I am 31 years old. A father of a beau�ful two-year-old daughter Elena, and
husband to my amazing wife Priscila. I am Peter Krill’s nephew. My father’s sister is Estell Krill. Peter Krill’s wife. I am
wri�ng this leter on behalf of my uncle Peter who is to be seen in court. I sincerely hope this leter will serve as a
great character witness on behalf of my uncle. I cannot give exact dates but I can give you my exact memory and
how Peter has personally helped me in my journey. This is a highly resourceful man. An extremely intelligent and
deeply caring man who I look up to. Despite his addic�ons and hardships in his past, he made it out and is the
protector, provider, and presider of his family today.

         In order to understand my personal rela�onship with Peter you have to know I also have a past of
addic�ons and struggles. At 16 years old I was introduced to opiates. This is a batle I struggled with for over 8
years. On and oﬀ, again and again, I went back and forth. I wouldn’t wish the darkness of addic�on on my worst
enemy. Even though I some�mes am ashamed of my past I wouldn’t change who I am today. I love who I am and
what I have in my life. Without Peter I really don’t know if I’d be alive today. I don’t say that lightly. My uncle Peter
comes from a similar background of addic�on. He plays an important role in how I made out.

          Jumping to a very important moment in my life. The ﬁrst person I saw the day a�er my overdose in 2016
was Peter. He priori�zed seeing me in a very confusing and scary �me in my life. He could have easily been busy
with life and could have called me and checked the box of touching base with me, but that’s not who he is. He
doesn’t just say he cares. He shows up. I now had a taste of the worst parts of addic�on and I had someone who
had literally walked the same path. He told me that everyone he knew that overdosed and died didn’t plan on
dying that �me. He made me really think about how lucky I was. Peter helped me in so many other areas. Taught
me good work ethic, how to be more of a man, and how to think more about life instead of just reac�ng to it. Peter
took me to support groups and mee�ngs for my past addic�on problems. He was there for me more than most of
my family members. He was pa�ent and kind with me. He wanted to know what was really on my mind. I couldn’t
even speak with my own father because he couldn’t understand but I had Peter.

          I have rewriten this leter many of �mes now. I keep ge�ng lost in details because the details mater to
me. I kept this short because if I went any longer, I’d have to go on for pages. I touched on the points that matered
the most to me. Which is the fact I had this man beside me through my darkest �mes. Peter is a man who helped a
lot of people. He is the same way with everyone he knows and cares for. I know any day or �me I can call him and
he would show up. Doesn’t mater if a whole year went by, he would be there for me. As I said earlier, he is a
protector of his family and a leader. It would be a disservice to society if he were to be taken away and thrown in
prison. Society is beter with him in it. Too many people rely on him. His contribu�on is too great. He is living a
great life today. If you were to go on my aunts Facebook page you would see him loving on his grandbabies. You
would see pictures of him obsessed with his dogs. Constantly going on to parks and driving to beau�ful places to
explore gods land and to experience that with his family. He is living his best life. Please take this tes�mony to heart
and see who this man is today. I want to thank you for taking the �me to read this leter and thank you for your
service to our great na�on.

Sincerely,

Jordan Messenger
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                                                                December 7, 2023


Chief Judge James E. Boasberg
United States District Court for the District of Columbia
333 Constitution Avenue
NW, Washington, DC 20001

Dear Honorable Boasberg,

I am writing this letter on behalf of my brother in law Peter (Pete) Krill Jr. whom I have
had the pleasure of knowing and being a part of me and my families lives for the past
fourteen years.
By way of background, I am a married father of three children and currently reside in
New Jersey. In 2022, I proudly retired as a
                    after twenty-five years of dedicated service. I served in numerous
capacities to include investigating organized crime in New York and serving as a
member of the                          team. I served in executive leadership positions at
                   in the                            and was detailed to the


                      with management and oversight of over 800 employees.
Pete is happily married to my sister Estelle Messenger Krill. They are the proud parents
of four children and three grandchildren. They enjoy and cherish spending quality time
with their loved ones and friends. In my personal experiences and observations, Pete is
someone who possesses positive traits and characteristics such as compassion for all
of humanity and animals, caring, dependable, reliable and embodies a devout love of
family. One significant instance that comes to mind that I have personally witnessed
was Pete supporting family, friends and strangers whom were dealing with drug and
alcohol addiction. He supported and counseled a young member of our extended family
to include moving him into his house, and doing everything possible to mentor, guide
and assist this family member during such difficult times. Because of Pete’s love and
engagement, this family member is now happily married and a proud father of two
beautiful children with another child on the way.
I have also had the pleasure of meeting and getting to know on a personal level Pete’s
family. His father Peter Krill Sr. (deceased) served in the US Navy and as an instructor
at the Union County Police Academy. His brother David Krill continues to serve as a
                                              and his sister in law Shoshanna Heskeyahu
serves as a                                                                  .
I have seen firsthand, Pete’s support of law enforcement as he traveled the state of NJ
supporting numerous police functions and events. Pete also proudly served and was a
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panelist on the NJ Governors prison reform initiatives, providing solid insight and
guidance to NJ legislative decision makers on how to assist inmates once they are
released from prison, and assist those in leading productive lives.
Thank you for taking the time to read this letter. I am available to answer any questions
you might have and am hopeful this letter will have a positive impact on how you look at
Peter Krill Jr.


                                                              Very Respectfully,


                                                              Michael J Messenger
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